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7                       UNITED STATES DISTRICT COURT
8                     CENTRAL DISTRICT OF CALIFORNIA
9                                                                Case No.:
10
           TERRY FABRICANT, individually
                                                                 2:21-cv-04607-DSF-MAA
11        and on behalf of all others similarly
12        situated,                                              NOTICE OF VOLUNTARY
          Plaintiff,                                             DISMISSAL OF ENTIRE
13
          vs.                                                    ACTION WITHOUT
14        ALL MERCHANT FUNDING LLC;                              PREJUDICE.
15
          and DOES 1 through 10, inclusive,
          and each of them,
16        Defendant.
17
            NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
18
      Civil Procedure 41(a)(1), hereby voluntarily dismisses this action without
19
      prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
20
      motion for summary judgment. Accordingly, this matter may be dismissed
21
      without prejudice and without an Order of the Court.
22

23
            Respectfully submitted this 29th Day of October, 2021.
24

25
                                             By: s/Todd M. Friedman Esq.
                                                  Todd M. Friedman
26                                               Attorney For Plaintiff
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                                       Notice of Dismissal - 1
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2

3                        CERTIFICATE OF SERVICE
4
      Filed electronically on October 29, 2021, with:
5

6     United States District Court CM/ECF system
7
      Notification sent electronically on October 29, 2021, to:
8

9     To the Honorable Court, all parties and their Counsel of Record
10

11    s/ Todd M. Friedman
12      Todd M. Friedman
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                                        Notice of Dismissal - 2
